     Case:06-11601-SDB Doc#:24 Filed:12/22/06 Entered:12/22/06 11:00:37                                  Page:1 of 1


                           UNITED STATES BANKRUPTCY COURT
                                             Southern District of Georgia

In re:                                                                                Case No.: 06−11601−SDB
Eleanor Hamilton                                                                      Judge: Susan D. Barrett
       Debtor
                                                                                      Chapter: 13
                    ORDER AND NOTICE TO SHOW CAUSE WHY CASE SHOULD NOT BE DISMISSED

The captioned case is subject to dismissal for the following reason(s):

                              ( X ) Debtor(s) failed to appear at the meeting of Creditors.
                              (   ) Debtor(s) failed to pay filing fee.
                              (   ) Voluntary request for dismissal.



IT IS HEREBY ORDERED that unless Debtor(s) or other parties in interest request to be heard in writing on or before January
16, 2007 , said case will be dismissed WITH PREJUDICE barring the refiling of a petition within 180 days .




                                                                   Susan D. Barrett
                                                                   United States Bankruptcy Judge
                                                                   PO Box 1487
                                                                   Augusta, GA 30903
Dated December 22, 2006



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